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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                             Plaintiff,            )
                                                   )
                        v.                         )     No. 1:05-cr-00069-JPH-MJD
                                                   )
GEORGE MUSIC,                                      ) -01
                                                   )
                             Defendant.            )


           Entry Denying Motion for Compassionate Release Without Prejudice

       On November 27, 2019, the Court revoked Defendant's supervised release and sentenced

him to 12 months and one day of imprisonment with no supervised released to follow. Dkts. 23,

24. On May 28, 2020, Defendant filed a pro se motion that the Court construed as a motion for

compassionate release under § 603 of the First Step Act, which is codified at 18 U.S.C.

§ 3582(c)(1)(A). Dkt. 28. The Court appointed counsel to represent Defendant. Dkt. 29. On August

31, 2020, Defendant, by counsel, filed a memorandum in support of the motion for compassionate

release. Dkt. 36. In the memorandum, Defendant argued that the Court should order his immediate

release. Id. He contended that extraordinary and compelling reasons warranted such a sentence

reduction because Defendant had medical conditions that placed him at increased risk of

experiencing severe symptoms if he contracted COVID-19 and because, as an inmate, he had an

increased risk of contracting COVID-19. Id. He noted that he was due to complete his sentence

and be released on September 12, 2020. Id.

       On September 15, 2020, the United States filed a response contending that Defendant's

motion should be denied as moot because Defendant was released from custody on September 11,
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2020. Dkt. 38. Defendant has not filed a reply contesting that assertion, and the time for doing so

has passed.

       The Bureau of Prisons website shows that Defendant was released on September 11, 2020,

which corresponds to Defendant's argument that he was due to complete his sentence on September

12, 2020. As explained, he is not currently serving a term of supervised release. The fact that he

has completed his sentence and been released from custody means that his motion for

compassionate release is moot. Accordingly, Defendant's motion for compassionate release, dkt.

[28], is denied as moot.

SO ORDERED.

Date: 9/25/2020




Distribution:

All Electronically Registered Counsel




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